                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                  )
 US DOMINION, INC., DOMINION
                                                  )
 VOTING SYSTEMS, INC., and DOMINION
                                                  )
 VOTING SYSTEMS CORPORATION,
                                                  )
                                                  )
    Plaintiffs/Counter-Defendants,
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                                                  )
      v.
                                                  )
                                                  )
 MY PILLOW, INC., and MICHAEL J.
                                                  )
 LINDELL,
                                                  )
                                                  )
    Defendants/Counter and Third- Party
                                                  )   Civil Case No. 1:21-cv-00445 (CJN)
    Plaintiffs,
                                                  )
                                                  )
      v.
                                                  )
                                                  )
 SMARTMATIC USA CORP.,
                                                  )
 SMARTMATIC INTERNATIONAL
                                                  )
 HOLDING B.V., SGO CORPORATION
                                                  )
 LIMITED, AND HAMILTON PLACE
                                                  )
 STRATEGIES, LLC,
                                                  )
    Third-Party Defendants.                       )
                                                  )


    ADDITIONAL SUPPLEMENT TO PLAINTIFF’S MOTION FOR PROTECTIVE
             ORDER REGARDING THIRD PARTY SUBPOENAS

       Dominion respectfully submits this additional filing to its Supplemental Memorandum in

Support of Plaintiffs’ Motion for Protective Order Regarding Third Party Subpoenas [ECF No.

154]. Specifically, Dominion notifies the Court of a recent ruling regarding the Monroe County,

Florida, Supervisor of Elections’ Motion to Quash one of the Subpoenas. On pages 2-3 of its

December 16 Supplemental Memorandum, Dominion explained that United States Magistrate

Judge Phillip Green quashed the subpoena that Defendants issued to Kent County, Michigan, Clerk




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Lisa Posthumus Lyons (and imposed sanctions on Defendants). Dominion also explained that the

Monroe County, Florida, Supervisor of Elections’ Motion to Quash was still pending.

        On December 20, 2022, United States Magistrate Judge Lauren F. Louis granted in part

the Monroe County Supervisor of Election’s Motion as to Requests 1 through 3 of the Subpoena

(which include the requests to which Dominion objects as containing its confidential and

proprietary information). It found those to be unduly burdensome. 1 A copy of the court’s order is

attached as Exhibit 1.

Dated: December 22, 2022


                                                            Respectfully submitted,

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  The court required the Supervisor to produce documents that the Supervisor had already agreed to produce, in
response to Request No. 4(a) and 4(b) of the Subpoena.


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